    Case 2:17-cv-01545-BWA-KWR Document 247-6 Filed 05/16/19 Page 1 of 9



                          UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

IN RE: IN THE MATTER OF THE                          CIVIL ACTION
COMPLAINT OF TK BOAT RENTALS,
LLC, AS OWNER AND OPERATOR OF                        NO. 2:17-cv-01545
THE M/V MISS IDA PETITIONING FOR                     c/w 17-02446 and c/w 17-03657
EXONERATION FROM OR LIMITATION
OF LIABILITY                                         SECTION “M” MAG. DIV. (4)

                                                     JUDGE ASHE
Pertains to All Actions
                                                     MAGISTRATE ROBY


                STATEMENT OF UNCONTESTED MATERIAL FACTS

       NOW INTO COURT, through undersigned counsel, comes Defendant, Extreme

Fishing, L.L.C., who, for purposes of the accompanying Motion for Summary Judgment,

respectfully avers that the following material facts are not genuinely disputed:

       1.     On February 12, 2017, with Troy Wetzel still in New Orleans, the M/V

SUPER STRIKE got underway from Venice Marina in Venice, Louisiana, at

approximately 6:40 a.m., with Captain Boudreau, deckhand Mitchell Rogers, Mr. Beck,

and the other plaintiffs aboard, with visibility reduced to 50-75 yards due to fog.    See

Boudreau Depo. at p. 66 ln. 4-23; p. 84 ln. 1-14; p. 88 ln. 21-25; p. 90 ln. 1-22; p. 96 ln.

4-8 (Ex. B to Memorandum in Support).

       2.     The M/V SUPER STRIKE got underway with its masthead light (white

light) and port and starboard running lights (red and green lights, respectively)

illuminated. See Boudreau Depo. at p. 90 ln. 6-11 (Ex. B to Memorandum in Support).

       3.     Because of the restricted visibility, Captain Boudreau posted deckhand

Mitchell Rogers as a lookout, and Captain Boudreau closely monitored the boat’s radar
   Case 2:17-cv-01545-BWA-KWR Document 247-6 Filed 05/16/19 Page 2 of 9



screen while the vessel was underway.       See Boudreau Depo. at p. 91 ln. 6-25; p. 92

ln. 3-5; p. 94 ln. 8-18; p. 95 ln. 22-25 (Ex. B to Memorandum in Support).

      4.     Ultimately, the SUPER STRIKE exited an area known as the “Jump” and

entered the Mississippi River heading downriver and proceeding approximately 75

yards off of the right descending bank (the West Bank). See Boudreau Depo. at p. 98

ln. 25; p. 99 ln. 1, 16-18; p. 117 ln. 21-25; p. 118 ln. 1-6 (Ex. B to Memorandum in

Support); Chart 11361 Excerpt (“The Jump”) (Ex. C to Memorandum in Support).

      5.     Because of possible dredging activity along the West Bank further

downriver, Captain Boudreau proceeded just south of Andres Pond and then crossed

the Mississippi River over to the East Bank, and ultimately planned to exit the

Mississippi River and enter the Gulf of Mexico through Pass A Loutre. See Boudreau

Depo. at p. 121 ln. 3-25; p. 122 ln. 1-15; p. 208 ln. 7-9; Exhibit 34 to Boudreau Depo.

(Ex. B to Memorandum in Support).

      6.     When the SUPER STRIKE was approximately half way across the river

proceeding from the West Bank to the East Bank, Captain Boudreau picked up an

object on his radar and immediately reduced his speed. See Boudreau Depo. at p. 132

ln. 12-25; p. 133 ln. 1-25; p. 134 ln. 1-21; p. 140 ln. 8-25; p. 141 ln. 1-8; Exhibit 35 to

Boudreau Depo. (Ex. B to Memorandum in Support).

      7.     Shortly thereafter, while continuing to cross the river, and when the

SUPER STRIKE was approximately three-quarters of the way across, Boudreau

detected another radar contact, which ultimately turned out to be the M/V MISS IDA.

See Boudreau Depo. at p. 126 ln. 21-25; p. 127 ln. 1-12; p. 225 ln. 11-12 (Ex. B to

Memorandum in Support).



                                           -2-
    Case 2:17-cv-01545-BWA-KWR Document 247-6 Filed 05/16/19 Page 3 of 9



       8.      According to Captain Boudreau, the two vessels were about one-half mile

apart. See Boudreau Depo. at p. 218 ln. 15-19 (Ex. B to Memorandum in Support).

       9.      Boudreau maintained radar contact with the MISS IDA up until the time of

collision. See Boudreau Depo. at p. 139 ln. 17-21 (Ex. B to Memorandum in Support).

       10.     Based upon his initial observations of the MISS IDA on radar, Captain

Boudreau determined that no risk of collision 1 existed with the MISS IDA because the

MISS IDA appeared to be tracking west on his radar, and Captain Boudreau further

believed that the MISS IDA was crossing the Mississippi River from the East Bank to

the West Bank. See Boudreau Depo. at p. 137 ln. 23-25; p. 138 ln. 1-13; p. 142 ln. 20-

24; p. 212 ln. 11-18; p. 280 ln. 5-24 (Ex. B to Memorandum in Support).

       11.     At this point, visibility was approximately 15 yards and the SUPER

STRIKE was proceeding at a speed of roughly 20 miles per hour. See Boudreau Depo.

at p. 141 ln. 2-12 (Ex. B to Memorandum in Support).

       12.     As Captain Boudreau continued to observe the M/V MISS IDA on radar,

however, the MISS IDA suddenly changed course to the north towards the SUPER

STRIKE, and Captain Boudreau immediately placed his engines in neutral, which

effectively brought the vessel to a stop. See Boudreau Depo. at p. 141 ln. 13-25; p. 142

ln. 1-10; p. 144 ln. 10-14; p. 153 ln. 14-17; p. 281 ln. 4-9 (Ex. B to Memorandum in

Support).

       13.     Captain    Boudreau      estimated     that   the   SUPER       STRIKE     traveled

approximately 75 feet from the time he put the engines in neutral until the time the




       1 Generally, a risk of collision is “deemed to exist if the compass bearing of an approaching
vessel does not appreciably change.” 33 C.F.R. §83.07(d)(i).

                                               -3-
   Case 2:17-cv-01545-BWA-KWR Document 247-6 Filed 05/16/19 Page 4 of 9



vessel came to a stop. See Boudreau Depo. at p. 144 ln. 10-14 (Ex. B to Memorandum

in Support).

      14.      At this point, Captain Boudreau did not turn or otherwise maneuver the

SUPER STRIKE, but instead kept monitoring the MISS IDA on radar and evaluating the

situation to determine the best course of action. See Boudreau Depo. at p. 145 ln. 4-15;

p. 280 ln. 25; p. 281 ln. 1-9 (Ex. B to Memorandum in Support).

      15.      By the time the MISS IDA turned to the north the SUPER STRIKE was

already across the river, and the SUPER STRIKE was located closer to the East Bank

than the MISS IDA such that the vessels would pass off of each other’s starboard side.

See Boudreau Depo. at p. 218 ln. 7-25; p. 219 ln. 1-11; p. 222 ln. 22–25 (Ex. B to

Memorandum in Support).

      16.      Approximately thirty seconds later, before Boudreau could take any

evasive action, the MISS IDA broke through the fog and collided with the SUPER

STRIKE at the point marked with a “C” in a circle on Exhibit 35. See Boudreau Depo. at

p. 139 ln. 6-16; p. 144 ln. 6-14; Exhibit 35 to Boudreau Depo. (Ex. B to Memorandum in

Support).

      17.      In this respect, Boudreau first sighted the MISS IDA visually when the

MISS IDA broke through the fog approximately 20-30 yards away from the SUPER

STRIKE. See Boudreau Depo. at p. 289 ln. 16-18 (Ex. B to Memorandum in Support).

      18.      The captain of the M/V MISS IDA, Shane Leblanc, testified during his

deposition that the MISS IDA was traveling at a speed between 15-20 knots at the time

of the collision. See Deposition of Shane Leblanc (“Leblanc Depo.”) at p. 135 ln. 2-12;

p. 143 ln. 14-18 (Ex. D to Memorandum in Support).



                                         -4-
    Case 2:17-cv-01545-BWA-KWR Document 247-6 Filed 05/16/19 Page 5 of 9



        19.     This Court has previously held that Extreme Fishing was the demise or

bareboat charterer of the M/V SUPER STRIKE at the time of the collision. 2 See Order

and Reasons at pp. 1, 8, 18 (Doc. 186 in No. 17-01545).

        20.     Andre Boudreau has been licensed by the U.S. Coast Guard since 2014

as an Operator of Uninspected Passenger Vessel (OUPV 6-Pack) of less than 100

gross tons and limited to six or less passengers for hire. See Boudreau Depo. at p. 14

ln. 24-25, p. 15 ln. 1-16, p. 245 ln. 11-25, p. 246 ln.1 & Exhibit No. 27 (at Answer to

Interrogatory No. 13) attached thereto (Ex. B to Memorandum in Support).

        21.     Before this collision, Andre Boudreau had never been involved in a

reportable incident to the U.S. Coast Guard. See Boudreau Depo. at p. 251 ln. 4-9 (Ex.

B to Memorandum in Support).

        22.     Boudreau has also never had his license revoked or suspended by the

Coast Guard. See Boudreau Depo. at p. 20 ln. 5-7 (Ex. B to Memorandum in Support).

        23.     Prior to starting commercial fishing and obtaining his Coast Guard license,

Andre Boudreau had over five years of experience privately fishing offshore using the

same type of boat, the same type of equipment, and traveling the same area. See

Boudreau Depo. at p. 243 ln. 15-25, p. 244 ln. 1-19 (Ex. B to Memorandum in Support).

        24.     Between 2009 and 2014, when he received his Coast Guard license,

Boudreau had navigated the Mississippi River approximately 65 to 100 times per year.

See Boudreau Depo. at p. 243 ln. 10-25, p. 244 ln. 1-19 (Ex. B to Memorandum in

Support).

          2 Extreme Fishing has strongly argued, on numerous grounds previously raised, that it was not

the demise or bareboat charterer of the M/V SUPER STRIKE at the time of the collision; however,
because that finding is now the law of the case, Extreme Fishing now alternatively argues that it is entitled
to limitation of liability
.

                                                    -5-
    Case 2:17-cv-01545-BWA-KWR Document 247-6 Filed 05/16/19 Page 6 of 9



       25.    Boudreau has attended and successfully passed various schools and

courses, including The Captain School, see Boudreau Depo. at p. 15 ln. 17-25, p. 16 ln.

1 & Exhibit 24 attached thereto (Ex. B to Memorandum in Support), and the Boater

Safety Course in 2013 prior to getting his license, see Boudreau Depo. at p. 246 ln. 3-

25, p. 247 ln. 1-20 & Exhibit 42 attached thereto (Ex. B to Memorandum in Support).

       26.    Mr. Wetzel had the opportunity for several years to closely observe Andre

Boudreau captain a fishing boat prior to Boudreau operating boats for Extreme Fishing.

See Wetzel Depo. at p. 25 ln. 12-25; p. 26 ln. 1-25; p. 27 ln. 1-25; p. 28 ln. 1-5 (Ex. A to

Memorandum in Support).

       27.    Prior to the collision at issue, Boudreau had operated the M/V SUPER

STRIKE approximately nine times while running charter fishing trips for a company

called Intensity Outfitters that was owned by Josh Bodenheimer. See Boudreau Depo.

at p. 45 ln. 24-25, p. 46 ln. 1-25, p. 47 ln. 1-25, p. 48 ln. 1-25, p. 49 ln. 1-25, p. 50 ln. 1-

25, p. 51 ln. 1-25, p. 52 ln. 1, p. 268 ln. 8-25, p. 269 ln. 1-25, p. 270 ln. 1-24 & Exhibit 28

thereto (Ex. B to Memorandum in Support).

       28.    This Court has previously dismissed, on summary judgment, TK Boat

Rentals’ claim that Extreme Fishing negligently entrusted the M/V SUPER STRIKE to

Captain Boudreau. See Order and Reasons at pp. 21–22 (Doc. 186 in No. 17-0545).

       29.    The MISS IDA was en route from an oil rig to Venice through Main Pass

and the Mississippi River. See Leblanc Depo. at p. 73 ln. 5-12; p. 85 ln. 19-21 (Ex. D to

Memorandum in Support).

       30.    Although the visibility was approximately 100 yards when the MISS IDA

departed the rig, and despite the fact that Captain Leblanc knew that the visibility would



                                             -6-
   Case 2:17-cv-01545-BWA-KWR Document 247-6 Filed 05/16/19 Page 7 of 9



probably be much less near the Mississippi River, Captain Leblanc was by himself and

did not have a separate lookout for the transit to Venice. See Leblanc Depo. at p. 88 ln.

1-23 (Ex. D to Memorandum in Support).

      31.    TK Boat Rentals did not require the use of a lookout in restricted visibility.

See Leblanc Depo. at p. 275 ln. 15-24 (Ex. D to Memorandum in Support).

      32.    Captain Leblanc was operating the MISS IDA with the wheelhouse door

closed. See Leblanc Depo. at p. 50 ln. 15-18 (Ex. D to Memorandum in Support).

      33.    The MISS IDA’s radar, with a screen the size of an IPhone, was set to a

distance of three-quarters of a mile. See Leblanc Depo. at p. 92 ln. 12-14 (Ex. D to

Memorandum in Support).

      34.    Just prior to the MISS IDA entering the Mississippi River from Main Pass,

the visibility lessened to approximately 15 feet, and the MISS IDA was operating at a

speed of 25 miles per hour. See Leblanc Depo. at p. 97 ln. 5-9; p. 102 ln. 11-13 (Ex. D

to Memorandum in Support).

      35.    As the MISS IDA began a wide right turn into the Mississippi River,

however, Leblanc slowed to idle speed or approximately 5 miles per hour, see Leblanc

Depo. at p. 111 ln. 19-20; p. 113 ln. 22-25; p. 114 ln. 1-11; p. 116 ln. 17-22 (Ex. D to

Memorandum in Support), once he detected on radar two small fishing boats north of

him close to the East Bank, see Leblanc Depo. at p. 97 ln. 14-25; p. 98 ln. 15-25; p. 106

ln. 12-25; p. 107 ln. 1-25; p. 108 ln. 1-25; p. 109 ln. 1-25; p. 110 ln. 1-15; Exhibit 4 to

Leblanc Depo.; Exhibit 11 to Leblanc Depo. (Ex. D to Memorandum in Support).

      36.    The MISS IDA passed the two small fishing boats off the MISS IDA’s

starboard side and then increased speed in an attempt to get back on plane. See



                                           -7-
    Case 2:17-cv-01545-BWA-KWR Document 247-6 Filed 05/16/19 Page 8 of 9



Leblanc Depo. at p. 110 ln. 16-20; p. 117 ln. 10-25; p. 118 ln. 1-2 (Ex. D to

Memorandum in Support).

       37.    Captain Leblanc then detected the M/V SUPER STRIKE on radar

approximately one-half mile away. See Leblanc Depo. at p. 120 ln. 9-25; p. 122 ln. 5-8;

p. 279 ln. 14-24 (Ex. D to Memorandum in Support).

       38.    At this time, the M/V MISS IDA was operating at a speed of 15-20 miles

per hour, see Leblanc Depo. at p. 122 ln. 9-11 (Ex. D to Memorandum in Support), and

Leblanc believed that the SUPER STRIKE was heading directly towards his vessel, see

Leblanc Depo. at p. 121 ln. 14-25; p. 122 ln. 1-2 (Ex. D to Memorandum in Support).

       39.    Leblanc detected the presence of the SUPER STRIKE on radar three

times leading up to the collision.    See Leblanc Depo. at p. 125 ln. 5-24 (Ex. D to

Memorandum in Support).

       40.    Each time Leblanc saw the SUPER STRIKE on radar, the SUPER

STRIKE appeared to be getting closer to the MISS IDA. See Leblanc Depo. at p. 139

ln. 24-25; p. 140 ln. 1-25; p. 141 ln. 1-25; p. 142 ln. 1-8 (Ex. D to Memorandum in

Support).

       41.    At the position identified on Exhibit 6 to his deposition, Leblanc testified

that the MISS IDA was operating at a speed of 15-20 miles per hour, and that the

SUPER STRIKE and the MISS IDA were approximately one-quarter mile apart. See

Leblanc Depo. at p. 128 ln. 22-25; p. 129 ln. 24-25; p. 130 ln. 1; p. 135 ln. 4-12 (Ex. D to

Memorandum in Support).




                                           -8-
   Case 2:17-cv-01545-BWA-KWR Document 247-6 Filed 05/16/19 Page 9 of 9



      42.    Captain Leblanc could not visually see the SUPER STRIKE and began

veering the MISS IDA to the right, but did not slow down at all. See Leblanc Depo. at p.

130 ln. 13-19; p. 131 ln. 9-16 (Ex. D to Memorandum in Support).

      43.    Leblanc visually saw the SUPER STRIKE when the SUPER STRIKE was

about 10 feet away, and the MISS IDA collided with the starboard bow of the SUPER

STRIKE and ended up on top of the SUPER STRIKE. See Leblanc Depo. at p. 135 ln.

2-12; p. 143 ln. 1-18; p. 145 ln. 21-25; p. 146 ln. 1-17 (Ex. D to Memorandum in

Support).

      44.    At the time of the collision, the MISS IDA was traveling at a speed of 15-

20 miles per hour. See Leblanc Depo. at p. 135 ln. 2-12 (Ex. D to Memorandum in

Support).

      45.    Between the MISS IDA’s position on Exhibit 6 to Leblanc’s deposition and

the time of the collision with the SUPER STRIKE, the MISS IDA never slowed down.

See Leblanc Depo. at p. 131 ln. 15-16 (Ex. D to Memorandum in Support).

                                 Respectfully submitted,

                                 DAIGLE, FISSE & KESSENICH, PLC

                                 /s/ Kirk N. Aurandt
                                 MICHAEL W. McMAHON (#23987)
                                 KIRK N. AURANDT (#25336)
                                 P.O. Box 5350
                                 Covington, LA 70434-5350
                                 Telephone: (985) 871-0800
                                 Facsimile: (985) 871-0899
                                 Attorneys for Defendant, Extreme Fishing, L.L.C.




                                         -9-
